




PER CURIAM HEADING



						NO. 12-03-00147-CV



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


EDUARDO ALVARDO RODRIGUEZ,§
	APPEAL FROM THE THIRD

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


MELISSA A. DAMRON, ET AL,

APPELLEE§
	ANDERSON COUNTY, TEXAS

                                                                                                                                                       

MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  Tex. R. App. P.  42.3.  Pursuant to Rule 32.1, Appellant's docketing statement was
due to have been filed at the time the appeal was perfected, i.e., May 19, 2003.  See Tex. R. App.
P. 32.1.  On May 19, 2003, this court notified Appellant that the docketing statement was past due
and it allotted Appellant until June 3, 2003 to file it. 

	When Appellant again failed to file the docketing statement, on June 11, 2003, this court
issued a second notice advising him that the docketing statement was past due and giving him
until June&nbsp;26, 2003 to comply with Rule 32.1.  The notice further provided that failure to comply
with this second notice would result in the appeal being presented for dismissal in accordance
with Rule 42.3.  The time for filing the docketing statement under this second notice has expired,
and Appellant has not filed the docketing statement as required by Rule 32.1 and the court's
notices.  

	Appellant having failed, after notice, to comply with Rule 32.1, the appeal is dismissed. 
Tex. R. App. P.  42.3(c).


Opinion delivered June 30, 2003.

Panel consisted of Worthen, C.J., and Griffith, J.



































(PUBLISH)


